              Case 1:11-cr-00095-GBL Document 85 Filed 06/22/16 Page 1 of 1 PageID# 655
                                  UNITED STATES DISTRICT COURT
                                  EASTERN DISTRICT OF VIRGINIA
                                      ALEXANDRIA DIVISION


 UNITED STATES                                      JUDGE: MIC     LS.NA
                                                    CASE NO.;
                                                    HEARING:
 vs.                                                DATE:
                                                    TIME:
                                                    REPORTER: FIR GOLD SYSTEM
 DEFENDANT(S                                        CLERK: CHRISTINA MARQUEZ

 COUNSEL FOR UNITED STATES:
 COUNSEL FOR DEFENDANT:                     -rr-Yv^              r^)^
 INTERPRETER:                                       LANGUAGE;
^^£><jl5EFT. APPEARED ( )THROUGH COUNSEL ( )FAILED TO APPEAR ( )WARRANT TO BE ISSUED
^.^^^qlRULE 5ADVISEMENT                             ( ) DEFT. ADMITS ( ) DENIES VIOLATION
 ( yCOURTTO APPOINT COUNSEL                         ( ) COURTFINDS DEFT. IN VIOLATION
 ( ) DEFT. TO RETAIN COUNSEL                        ( ) DEFT CONTINUED ON PROBATION
 ( ) CONTACT PREVIOUS COUNSEL&REAPPOINT
 (     ) PRELIMINARY EXAMINATION WAIVED
 (     ) COURT FINDS PROBABLE CAUSE
 (     )GOVT NOT SEEKINGDETENTION
 (     ) U.S. REQUESTS DETENTION ( ) GRANTED ( ) DENIED
 ><:TOEFT PLACED ON       BOND WITH CONDITIONS      ( ) DEFT CONTINUED ON BOND
 ( )DEFT.(      ) REMANDED

 CONDITIONS OF RELEASE:
 ($2CPOOC^ UNSECURED ($ IL> COO )SECURED C>^S ( )3^ PARTY.(^^H;^RAVEL RESTRICTED
 ( ) APPROVED RESIDENCE (') SATT ( ) PAY COSTS ( ) ELECTRONIC MONITORING
 ( ) MENTAL HEALTH TEST/TREAT ( )ROL( ) NOT DRIVE ( ) FIREARM ( ) PASSPORT
 ( ) AVOID CONTACT ( ) ALCOHOL & DRUG USE( ) EMPLOYMENT

 MINUTES:


 (     )GOVT ADDUCED EVIDENCE & RESTS (    ) EXHIBITS:

 (     ) DEFT ADDUCED EVIDENCE & RESTS (   ) EXHIBITS:




 ( )GOVT.(       )DEFT.( ) JOINT MOTION TOCONTINUE (      ) GRANTED ( ) DENIED

 NEXT APPEARANCE:
                                                                    AT               AMORPM
 ( )DH( )PH( )STATUS(          )TRIAL( )JURY( )PLEA( )SENT( )PBV( ) SRV ( )VCR( )R5
 ( ) ARRAIGN ( ) IDENTITY ( ) OTHERJUDGE

  ( ) MATTER CONTINUED FORFURTHER PROCEEDINGS BEFORE THEGRAND JLfRY

  ( ) RELEASE ORDER GIVEN TO USMS
